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 4   Telephone: (916) 554-2797
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 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               ) CR. No. S-2:09-0380 WBS
                                             )
12                Plaintiff,                 )
                                             ) STIPULATION AND [PROPOSED]
13        v.                                 ) ORDER CONTINUING STATUS
                                             ) CONFERENCE
14   URIEL OCHOA-ESPINDOLA,                  )
     JOSE SERGIO ESPINDOLA,                  )
15   ARMANDO ESPINDOLA,                      )
     VALENTIN RAMIREZ-CARDINEZ,              )
16   JOSE MANUEL VERA-GIL, AND               )
     LUIS MIGUEL ORRUTIA-RODRIGUES,          )
17                                           )
                  Defendants.                )
18                                           )

19
20        The parties request that the status conference currently set

21   for July 11, 2011, be continued to July 25, 2011, and stipulate

22   that the time beginning July 11, 2011, and extending through July

23   25, 2011, should be excluded from the calculation of time under

24   the Speedy Trial Act.      The parties submit that the ends of

25   justice are served by the Court excluding such time, so that

26   counsel for each defendant may have reasonable time necessary for

27   effective preparation, taking into account the exercise of due

28   diligence.    18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.

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 1        The parties are in the process of discussing and negotiating
 2   various pretrial dispositions.     Each defendant will need time to
 3   consider any plea offer he or she may receive.        Additionally,
 4   counsel for each defendant needs more time to review the
 5   discovery in this case, discuss that discovery with their
 6   respective clients, consider evidence that may affect the
 7   disposition of this case, and discuss with their clients how to
 8   proceed.   The parties stipulate and agree that the interests of
 9   justice served by granting this continuance outweigh the best
10   interests of the public and the defendants in a speedy trial.         18
11   U.S.C. § 3161(h)(7)(A).
12                                          Respectfully Submitted,
13                                          BENJAMIN B. WAGNER
                                            United States Attorney
14
15   Dated: July 8, 2011                By:/s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
16                                         Assistant U.S. Attorney
17
     Dated: July 8, 2011                By:/s/ Preciliano Martinez
18                                         PERCILIANO MARTINEZ
                                           Attorney for defendant
19                                         URIEL OCHOA-ESPINDOLA
20
     Dated: July 8, 2011                By:/s/ Mark J. Rosenblum
21                                         MARK J. ROSENBLUM
                                           Attorney for defendant
22                                         JOSE SERGIO ESPINDOLA
23
     Dated: July 8, 2011                By:/s/ John R. Duree, Jr.
24                                         JOHN R. DUREE, JR.
                                           Attorney for defendant
25                                         ARMANDO ESPINDOLA
26
     Dated: July 8, 2011                By:/s/ Robert L. Forkner
27                                         ROBERT L. FORKNER
                                           Attorney for defendant
28                                         VALENTIN RAMIREZ-CARDINEZ

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 1
     Dated: July 8, 2011                By:/s/ Danny D. Brace, Jr.
 2                                         DANNY D. BRACE, JR.
                                           Attorney for defendant
 3                                         JOSE MANUEL VERA-GIL
 4
     Dated: July 8, 2011                By:/s/ Dan F. Koukol
 5                                         DAN F. KOUKOL
                                           Attorney for defendant
 6                                         LUIS MIGUEL ORRUTIA-RODRIGUES
 7
                                      ORDER
 8
          The status conference in case number CR. S 2:09-0380 WBS,
 9
     currently set for July 11, 2011, is continued to July 25, 2011,
10
     and the time beginning July 11, 2011, and extending through July
11
     25, 2011, is excluded from the calculation of time under the
12
     Speedy Trial Act.   The Court finds that interests of justice
13
     served by granting this continuance outweigh the best interests
14
     of the public and the defendants in a speedy trial.        18 U.S.C. §
15
     3161(h)(8)(A).
16
17
18   IT IS SO ORDERED
19
     Dated:   July 8, 2011
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